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          APPENDIX B
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                    vom 27.04.2023 zu 14351/J (XXVII. GP)
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                                                                  Dr.in Alma Zadić, LL.M.
                                                                  Bundesministerin für Justiz



Herrn
Mag. Wolfgang Sobotka
Präsident des Nationalrats
Parlament
1017 Wien




Geschäftszahl: 2023-0.160.274                                     Ihr Zeichen: BKA - PDion (PDion)14351/J-NR/2023




                                                                  Wien, am 27. April 2023


Sehr geehrter Herr Präsident,


die Abgeordneten zum Nationalrat Dr. Stephanie Krisper, Kolleginnen und Kollegen haben
am 27. Februar 2023 unter der Nr. 14351/J-NR/2023 an mich eine schriftliche
parlamentarische    Anfrage       betreffend     „Ermittlungen     zu      Luxor       wurden          zu
Rechtsstaatsdebakel“ gerichtet.


Diese Anfrage beantworte ich nach den mir vorliegenden Informationen wie folgt:


Es wird um Verständnis ersucht, dass eine umfassende Beantwortung der Fragen aufgrund
der Grenzen des parlamentarischen Interpellationsrechts, der verfassungsrechtlichen
Verpflichtung zur Wahrung der Amtsverschwiegenheit und des Datenschutzes sowie im
Hinblick auf die Bestimmungen der StPO über die Akteneinsicht nicht möglich ist. Die Fragen
betreffen überwiegend Inhalte eines anhängigen, nicht öffentlichen (§ 12 StPO)
Ermittlungsverfahrens, weshalb von einer detaillierteren Beantwortung der Fragen Abstand
genommen werden muss.


Zu den Fragen 1 bis 7:
•   1. Das sog. "Luxor"-Verfahren 16 St 52/19t wurde laut Verfügung im AB-Bogen vom
    30. August 2019 trotz Zusammenhang mit dem Verfahren 16 St 14/15y nicht mit




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              diesem gemeinsam geführt. Welche StA ist/war für das Verfahren 16 St 14/15y
              zuständig?
          •   2. In welchem Verfahrensstand befindet sich dieses Verfahren zum Zeitpunkt der
              Anfrage und zum Zeitpunkt der Beantwortung?
          •   3. Welche StA ist für das sog. Luxor-Verfahren zuständig?
                 a. Gibt es mehrere mehrere Verfahrensstränge zum Luxor-Verfahren?
                        i. Wenn ja, welche?
                        ii. Wenn ja, welche StA ist für welchen Verfahrensstrang zuständig (bitte um
                        genaue Auflistung)?
          •   4. In welchem Verfahrensstand befindet sich dieses Verfahren zum Zeitpunkt der
              Anfrage und zum Zeitpunkt der Beantwortung?
          •   5. Falls eine unterschiedliche Zuständigkeit bei diesen beiden Verfahren besteht:
              warum?
          •   6. In welchem inhaltlichen Zusammenhang steht das Verfahren 16 St 52/19t mit dem
              Verfahren 16 St 14/15y?
          •   7. Auf Basis welcher Verdachtslage bzgl. welcher Strafdelikte wurde im Verfahren 16 St
              14/15y gegen wen ermittelt (Bitte um Antwort in datenschutzkonformer Weise)?

          Die hier interessierenden Verfahren 16 St 52/19t und 16 St 14/15y werden beide von der
          Staatsanwaltschaft Graz geführt. Das Verfahren 16 St 52/19t befindet sich im
          Ermittlungsstadium, das Verfahren 16 St 14/15y endete mit Anklageerhebungen sowie
          Einstellungen. Die Ermittlungen im Verfahren 16 St 14/15y wurden vorwiegend wegen des
          Verdachts gemäß §§ 246 Abs. 1 und Abs. 2, 278a, 278b Abs. 2 StGB geführt.


          Der im Anordnungs- und Bewilligungsbogen des Verfahrens 16 St 52/19t angeführte
          „inhaltliche Zusammenhang“ ist nicht identisch mit dem Begriff des Zusammenhangs im
          Sinne des § 26 StPO, sondern beruhte lediglich darauf, dass der Verdacht bestand, dass
          Beschuldigte bzw. den Beschuldigten nahestehende Personen aus dem vormaligen
          Ermittlungsverfahren 16 St 14/15y gemeinsam mit Aktivisten der Muslimbruderschaft
          auftraten.


          Zu den Fragen 8 bis 11:
          •   8. Im AB-Bogen auf S.1 des Verfahrens 16 St 52/19t wurde im wesentlichen nur auf das
              Gutachten der Universität Wien und der George Washington-University von Lorenzo
              Vidino verwiesen. Gab es abseits dieses Gutachtens weitere Verdachtsmomente, die
              die Trennung notwendig machten?
          •   9. Auf welchem Wege kam das Gutachten zur StA Wien bzw. StA Graz?




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•   10. Wie kam es im Verfahren 16 St 52/19t zu der Zuständigkeit der StA Graz (bitte um
    genaue chronologische Auflistung?
•   11. Wie genau kam es zur Zuständigkeit des fallführenden Staatsanwalts im Luxor-
    Verfahren (bitte um genaue chronologische Auflistung)?
       a. Fiel das Ermittlungsverfahren zufällig an den fallführenden Staatsanwalt?
                i. Wenn ja, nach welchem Modus?
                ii. Wenn nein, warum wurde er konkret damit befasst?
                      1. Von wem und wann?

Das Ermittlungsverfahren gegen (mutmaßliche) Vertreter der Muslimbruderschaft wurde
aufgrund   zweier     Anlassberichte    des    Landesamtes   für   Verfassungsschutz    und
Terrorismusbekämpfung (LVT) Steiermark eingeleitet, nachdem die Studie von Lorenzo
VIDINO ein umfassendes Bild der Tätigkeit der Muslimbruderschaft in Österreich bot.


Die Studie wurde in den Ermittlungsakt 16 St 14/15y übernommen. Auch weil zunächst eine
Zusammenarbeit der dort als Beschuldigten geführten Personen mit (mutmaßlichen)
Vertretern der Muslimbruderschaft nahelag (siehe Beantwortung der Fragen 1. – 7.), sich
jedoch durch die weitergehenden Ermittlungen nicht erhärtete.


Nach Einlangen des ersten und zweiten Anlassberichtes des LVT Steiermark wurde sodann
das Ermittlungsverfahren 16 St 52/19t eingeleitet und die erwähnte Studie dort zum Akt
genommen.


Die (örtliche) Zuständigkeit der Staatsanwaltschaft Graz für das Ermittlungsverfahren gegen
(mutmaßliche) Vertreter der Muslimbruderschaft ergab sich insoweit, als die
Muslimbruderschaft auch in Graz etablierte Verbände betreibt und Personen, die nach der
Verdachtslage der Muslimbruderschaft zuzuordnen sind, in Graz Tätigkeiten für die
Muslimbruderschaft entfalteten.


Die Zuständigkeit des die Ermittlungen führenden Staatsanwalts im Verfahren 16 St 52/19t
ergibt sich aus der Geschäftsverteilung der Staatsanwaltschaft Graz.


Zur Frage 12:
•   Gab es im Luxor-Verfahren Weisungen der OStA oder des BMJ?
       a. Wenn ja, welche?
       b. Wenn ja, wann?
       c. Wenn ja, mit welchem Inhalt?




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                  d. Wenn ja, von wem?
                  e. Wenn ja, gab es Anzeigen dazu?
                          i. Wenn ja, gibt es dazu ein Ermittlungsverfahren?

          Nein.


          Zur Frage 13:
          •   Hat der fallführende Staatsanwalt zuvor schon Ermittlungsverfahren iZm
              Verdachtslagen zu religiös motivierten Delikten geleitet bzw. bei diesen mitgearbeitet?
                  a. Wenn ja, welche?
                  b. Wenn ja, mit welchem Ausgang?

          Seit dem Jahr 2011 arbeitet der fallführende Referent der Staatsanwaltschaft Graz in einem
          Referat mit Schwerpunkt Verfassungsschutzsachen; insoweit hat er bereits zahlreiche
          Ermittlungsverfahren im Zusammenhang mit §§ 278b ff StGB geführt.


          Zur Frage 14:
          •   Gab es jemals ein Disziplinarverfahren gegen den zuständigen Staatsanwalt iZm
              diskriminierenden/rassistischen Äußerungen?
                  a. Wenn ja, wie viele?
                  b. Wenn ja, wann?
                  c. Wenn ja, mit welchem Ausgang?

          Nein.


          Zur Frage 15:
          •   Wie viele Ermittlungsmaßnahmen wurden in dem sog. Luxor-Verfahren letztendlich
              vom OLG Graz als rechtswidrig befunden?
                  a. Welche konkreten gegen wen gesetzten, durch wen beantragten sowie durch
                  wen genehmigten Ermittlungsmaßnahmen wurden wann durch welches Gericht als
                  rechtswidrig befunden (bitte um genaue Auflistung aller rechtswidrigen
                  Ermittlungsmaßnahmen)?
                  b. Wie viele Ressourcen wurden jeweils konkret für diese rechtswidrigen
                  Ermittlungsmaßnahmen eingesetzt?

          Insgesamt wurden rund 30 der durch die Staatsanwaltschaft Graz nach dem achten
          Hauptstück der StPO angeordneten und durch das Landesgericht für Strafsachen Graz




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gerichtlich bewilligten Anordnungen in weiterer Folge durch das Oberlandesgericht Graz als
rechtswidrig bzw. das Gesetz verletzend beurteilt.


Zur Frage 16:
•   Ist es richtig, dass wegen des hohen Ressourcenaufwands in der Operation Luxor
    andere Ermittlungsmaßnahmen, aber auch Maßnahmen nach dem SPG verschoben
    bzw. abgesagt werden mussten?
       a. Wenn ja, welche waren dies?

Diese Frage betrifft nicht den Vollziehungsbereich des Bundesministeriums für Justiz,
sondern jenen des Bundesministeriums für Inneres.


Zur Frage 17:
•   Aus welchem Grund wurden vom OLG Graz die Gutachter/Sachverständigen vom
    Luxor-Verfahren enthoben?
       a. Wurden die Sachverständigen durch die polizeilichen Ermittlungsbehörden aktiv
       vorgeschlagen oder erfolgte die Auswahl iZm der ursprünglichen
       staatsanwaltlichen Bestellung allein durch die StA Graz?
       b. Wurden Honorare an die Sachverständigen ausbezahlt und wenn ja, in welcher
       Höhe?
                i. Wurden allfällige Honorare anlässlich der Enthebung der
                Sachverständigen vollständig (und erfolgreich) zurückgefordert?
                       1. Wenn nein, warum nicht?
       c. Ist es aus Sicht des Bundesministeriums für Justiz rechtlich zulässig, dass sich von
       der Justiz bestellte Sachverständige außerhalb des Verfahrens, gegenüber Dritten
       bzw öffentlich zu ihrer Tätigkeit im Ermittlungsverfahren äußern?
       d. Erfolgten die öffentlichen Statements der Sachverständigen zu ihrer Tätigkeit im
       Ermittlungsverfahren im Einvernehmen mit der StA Graz bzw nach gerichtlicher
       Bestellung im Einvernehmen mit dem LG Graz?

Das Oberlandesgericht Graz enthob aufgrund der Beschwerde eines Beschuldigten mit
Beschluss vom 14. Juni 2022 die vom Landesgericht für Strafsachen Graz mit Beschluss vom
23. September 2021 bestellten Sachverständigen und trug dem Landesgericht für
Strafsachen Graz auf, eine:n neue:n Sachverständige:n zu bestellen. Als Begründung für die
Enthebung führte das Oberlandesgericht Graz aus, dass das Auftreten von einem der
Sachverständigen in einer Fernsehsendung etwa zwei Jahre vor Einleitung des
Ermittlungsverfahrens den „äußeren Anschein von Befangenheit“ begründe.




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          Die Honorare der vom Landesgericht für Strafsachen Graz bestellten Sachverständigen
          wurden entsprechend der erbrachten Leistung bezahlt. Eine Rückforderung von Honoraren
          ist im GebAG nicht vorgesehen.


          Zu den Fragen 18 bis 21:
          •   18. Gegen wie viele Personen (juristische und natürliche) wurden Ermittlungen im
              Luxor-Verfahren gestartet?
          •   19. Gegen wie viele Personen (juristische und natürliche) wurden die Ermittlungen im
              Luxor-Verfahren jeweils wann bereits eingestellt?
          •   20. Gegen wie viele dieser Personen wurden welche Maßnahmen gesetzt (eingefrorene
              Bankkonten, Beschlagnahme von Liegenschaften, Berufsverbot,...)?
          •   21. Gegen wie viele Personen (juristische und natürliche) werden die Ermittlungen im
              Luxor-Verfahren weitergeführt?

          Es wurde gegen mehr als 70 natürliche Personen und 22 juristische Personen ermittelt.
          Bislang wurden zu etwa 35 Beschuldigten Verfahrenseinstellungen vorgenommen. Im
          Ermittlungsverfahren 16 St 52/19t wurden mehr als 300 Anordnungen nach dem achten
          Hauptstück der Strafprozessordnung getroffen. Derzeit wird das Ermittlungsverfahren 16 St
          52/19t gegen mehr als 60 bekannte natürliche und juristische Personen sowie eine:n
          unbekannte:n Täter:in geführt.


          Zur Frage 22:
          •   Gegen wie viele dieser Personen bestehen noch welche aufrechte Maßnahmen
              (eingefrorene Bankkonten, Beschlagnahme von Liegenschaften, Berufsverbot,...)?

          Es sind noch Beschlagnahmen von Liegenschaften, Sicherstellungen zu Bankkonten und
          Sicherstellungen von Gegenständen und Bargeld aufrecht.


          Zur Frage 23:
          •   Gegen wie viele Personen (juristische und natürliche) wird auch abseits des Luxor-
              Verfahrens ermittelt?

          Es gibt in diesem Zusammenhang nur das Ermittlungsverfahren 16 St 52/19t. Es wird daher
          auf die Beantwortung der Fragen 18 bis 21 verwiesen.




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Zur Frage 24:
•   Sind die Staatsanwält:innen, die an der "Operation Luxor" oder den dazugehörigen
    Ermittlungsverfahren beteiligt sind/waren, weiterhin für die genannten Verfahren
    zuständig oder kam es bei ihnen zu einer beruflichen Veränderung?
       a. Falls es zu einer beruflichen Veränderung kam: wohin haben die
       Staatsanwält:innen gewechselt?

Das Ermittlungsverfahren wird seit Beginn des Verfahrens durch den gleichen
staatsanwaltschaftlichen Referenten bearbeitet.


Zur Frage 25:
•   Sind die Polizist:innen, die leitend an der "Operation Luxor" oder an den dazugehörigen
    Ermittlungsverfahren beteiligt waren, weiterhin in ihrer leitenden Funktion tätig oder
    haben sie sich beruflich verändert?
       a. Falls es zu einer beruflichen Veränderung kam: wohin haben die leitetenden
       Polizist:innen gewechselt (mit der Bitte um Nennung der Organisationseinheit,
       sowie die Bekanntgabe einer allfälligen höheren Verwendungsgruppe/Dienstgrad)?

Diese Frage betrifft nicht den Vollziehungsbereich des Bundesministeriums für Justiz,
sondern jenen des Bundesministeriums für Inneres.


Zu den Fragen 26 und 27:
•   26. Bestand seitens der StA Graz Einvernehmen im Hinblick auf Zeitpunkt, Ablauf und
    Inhalt der Pressekonferenz der polizeilichen Ermittlungsbehörden am 09.11.2020
    (https://www.youtube.com/watch?v=KlI_DM-rlP4)?
•   27. Besteht aus Sicht des Bundesministeriums für Justiz Handlungsbedarf im Hinblick
    auf den Rechtsschutz von Personen, die durch die Medienarbeit der
    Strafverfolgungsbehörden in ihren Rechten, insbesondere im Hinblick in ihrem
    Menschenrecht der Unschuldsvermutung verletzt werden? Der OGH erblickte hier
    zuletzt eine Grundrechtsschutzlücke (15 Os 32/22b; 11 Os 109/21w, Rz 30).
       a. Wenn nein: Welches – im Sinne der Rechtsprechung des EGMR – effektive
       Rechtsmittel steht Betroffenen gegen die Medienarbeit der
       Strafverfolgungsbehörden bei Verletzungen des Menschenrechts der
       Unschuldsvermutung zur Verfügung?




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          Die interessierende Pressekonferenz war mit der Staatsanwaltschaft Graz nicht
          abgesprochen. Die Staatsanwaltschaft Graz war daher über deren Inhalt nicht vorab
          informiert.


          Darüber hinaus ist festzuhalten, dass die Medienarbeit der Strafverfolgungsbehörden im
          Zuständigkeitsbereich des BMJ klar geregelt ist und der Persönlichkeitsschutz ein
          gewichtiger Faktor bei allen Abwägungen ist.


          Daher     werden      die          gesetzlichen            Rechtschutzmöglichkeiten               (primär       der
          Schadenersatzanspruch nach dem Amtshaftungsgesetz) betreffend die Medienarbeit der
          Strafverfolgungsbehörden im Zuständigkeitsbereich des BMJ grundsätzlich als für
          ausreichend erachtet.




          Dr.in Alma Zadić, LL.M.

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